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          POWER OF ATTORNEY

          KNOW ALL MEN BY THESE PRESENTS:

       That I   1/114 &       /k         ofLlltJe Bode ,State. of ~kansas do
       herebyappoint AP£n. Po-IIi'                  SSN:.~ . __        '-3£12/
      State of Arkansas as agent and attorney in fact for me in my name to act
      Jointly of separa~ly and to conduct all ofmy affairs, both personal and
      business, to sign all documents, to execute all contracts on my behalf, to
'.    demand, 'collect and receive all money due to me, to institute any suits,
      actions, and lor proce~dings on.my behalf, to partition and divide my estate
      and to do and perform all.such matters as may be necessary and exp~dient
      for the purpose ofeating out the objects above mentioned: and hereby ratify
      and confirm that said agent may do in said premises.                                            J, .
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     Witness my hand and seal on this     '11B        day of          ,              201 t
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     Subscribed and swam to before me, a Notary Public this ~c\ay of ~201 l· _._ -                           "

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                     PULASKI COUNTY SHERIFF'S OFFICE
                      REGIO~AL DETENTION FACILITY




                                               Doc Holladay
                                                   Sheriff

               Randy Morgan                                            Shawn Smith
               ChiefofDetention                              HousingfSecurity and Intake Commander




                                    Inmate Handbook



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                                  PULASKI COUNTY
                            REGIONAL DETENTION FACILITY
                             STATEMENT OF PHILOSOPHY

       The mission ofthe PulBSki County Detention Facility is to provide fur thejust sud hwnane care ofall
       persons confined to the facility. The goals of the facility are, as follows: protection of the public;
       assistance to the judicial system; promotion of positive behavior; and, just and hwnane care ofall
       inmates. To the extent possible, the facility wiU comply with stale and uational staDdardB for the
       operation and management ofadult local detention facilities and community residential programs, as
       well BS Bli applicable local, state and federal laws, regulations, and codes. The Pulaski County
       Detention Facility should be considered a regional resource, serving the needs ofthose residing in
       the jurisdiction ofPuIaski COWlty.

       The detention facility is designed and operated using the direct supervision concept of detention
       facility management. To facilitate this nationally recognized type ofmanagement style, all detention
       facility staff have been extensively trained to promote interaction with inmates and to structure the
       environment so that the critical needs of all persons confined to the facility are best met through
       compliant behavior. Your cooperation and compliance with the rules and regulations of the facility
       will help to achieve the goals and objectives ofthe facility and to ensure that the direct supervision
       concept of management is upheld.

                                             CLASSIFICATION
       The classification process begins immediately upon your admission to the facility. To promote
       the direct supervision concept ofmanagement, the facility has developed and implemented a
       "behavior oriented" classification system. What this means is that your housing assignment will
       be based primarily on your past behavior and other factors that have'been shown to predict what
       your behavior may be like during your coufinement. This type of classification system groups
       inmates with similar behavior together in an effort to promote a positive environment throughout
       the facility. The classification system used at the Pulaski County Detention Facility breaks
       offenders down into four categories. When yOu are fust admitted to the facility you are
       automaticall laced in Leve 3 '                                . ..         ....
       and these levels follows. !fyou have any questions regarding any ofthe information contained in
       this section, refer them to your classification caseworker.


                     INITIAL HOUSING/CLASSIFICAnON AsSIGNMENT
                                                                              -
                                                                            •.1

       During this 72 hours, you will be re-interviewed by classification persOlUlel8I1d your behavior will
       be observed by trained staff so that a detennination can be made as to what housing unit and
       classification level you should be assigned. The classification caseworker assigned to your case will
       be responsible fur making a recommendation to the Classification Board as to what your first
       housing assignment should be. The Classification Board is a group ofstaffappointed by the Chiefof



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     Detention to review/approve all classification decisions. Once the Board bas approved your first
     housing assigmnent, you will be classified to one of the following levels:

     Levell:       Inmates in this category are generally approved for work assignments. These
                   inmates have the most privileges and movement throughout the facility.

        Level 1 sub-groups, are:

            Level 1.0:    Inmates able to work unsupervised outside ofthe facility (for example,
                          public works). Committed imnates only.
            Level 1.1:    Inmates able to work unsupervised inside the secure perimeter of the
                          facility or supervised outside oftbe secure perimeter.
            Level 1.2:    Inmates able to work inside the facility and only under the direct
                          supervision of staff. Inmates that are not corruttitted but have volunteered
                          to work,

     LevelZ:       "General population" no behavior problems. Imnates who function well in groups
                   and are not considered security risks. These inmates can qualify for work status
                   and have the most privileges and movement in level 2 sub-groups.

           Level 2.0:     General Population level. These Inmates have no behavior problems.

           Level 2.1:     General population imnates with medical concerns.

           Level 2.2:     General population inmates with U.S, Marshal or Pen holds.

           Level 2.3:     Inmates that are eligible for worle status but they decline.

                   New admission status

           Level 3.0      New inmates not classified

                   Inmates with special needs are in.segregation status. The letter "M" indicates the
                   inmate is on medical segregation. The letter lOR" indicates the inmate is on
                   restraint status.

            Level 4.0:    Inmates on protective custody.
            Level 4.1:    Inmates on administrative segregation (4.1M, 4.1 R)

            Level 4.2:    Inmates serving disciplinary sentences;

     Upon assigmnent to a classification level, you may be moved from your intake-housing unit to a
     new unit. In some cases, your housing assignment will not change and you will remain in the
     intake-housing unit.




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                                                RECLASSIFICATION

         Your classification caseworker will review your behavior every 30 days. Although not guaranteed,
         you will be more favorably considered for reclassification to a less restrictive level ifyou maintain
         good behavior, follow all facility rules and regulations, and participate in programs and services
         recommended to you by your cascworker or by staff. Likewise, you can be reclassified to a more
         restrictive level ifyou exhibit bad behavior, violate the rules and regulations, or are felt to be a threat
         to yourself, othen; or the facility, Reclassification to a more restrictive custody level-can occur at
         your scheduled reclassification or at any time your behavior warrants. Appeals wnl be made by the
         use of a classification appeal form from your unit deputy.

                                                CELL CONDITIONS

        There will be proper illumination ofeach cell and other areas where inmates may be held. There will
        be adequate heating in cold seasons and there shall be adequate ventilation at all times. There will be
        hot and cold water for bathing in accordance with the standards for public institutions, as well as
        adequate sanitary supplies of drinking water. Therewill be adequate working toilets and aU leaks in
        plumbing will be repaired immediately. You are required to maintain your room in a clean and
        orderly manner at all times.

                                                HEALTH SERVICES

        The Pulaski County Detention Facility provides for 24-hour medical care for aU persons confined to
        the facility, seven days per week. Health care services include routine and emergency medical care,
        dental care, and mental health care services. A physician will be available on call at all times. Every
        inmate must receive a medical screening within 24 hours of intake. Arkansas State law allows the
        facility to collect some reimbursement for any medical services you receive at the facility. The
        detention facility has established the following rate schedule:

            Sick Call        $5.00       (with either a nurse or dentist)

        Any payments will be set aside in your personal fund account but win not be withdrawn until you
        have been convicted of an offense by a court ofcriminal jurisdiction. You will not be denied health
        care based on your abUity to pay. All inmates will be provided the same level of care.

                                           SICK CALL PROCEDURES

        You can request to see a health care professional for a valid, medical complaint. To do this you must
        complete: THea!tlrServiees Request Form ant1 place It in the SIck calI1OcK1fox located in your--- ----­
        housing unit. It will be picked up by a member ofthe health care staffdaily and will be reviewed to            -;.
        determine if you need to be seen bY,a health care specialist. Your request for servicc will be·
        addressed within 24 - 72 hours




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                                                    MEDICATION

          If you have been prescribed medication it will be administered to you at the required times by a
          member of the health care staff. You will be infonned by a member ofthe health care staffas to the
          procedures you need to follow to be provided your medication. You will be required to take your
          medication in the presence of health care staff. The medication may not be the same as what you
          were taking when you arrived. Non-prescription, over-the-COWlter medications (for example, aspirin)
          are svailable for sale in the commissary. A limit will be placed on the number of6uch medications
          you can purchase. All over-the-c01mter medications will be available for purchase in single-dose
          packages only. At no time will one inmate be allowed to assist in the dispensing ofany medications.
          Indigent inmates will be provided medications free of charge.

                                            PERSONAL PHYSICIANS

          You can see your personal medical doctor and/or dentist but only ifhwshe agrees to see you,
          however they must come to this facility.

                                        OTHER MEDICAL SERVICES

          If for any reason in-house health care professionals feel it necessary, you may be transported to
          outside health care facilities (for example, the hospital) for treatment. All decisions concerning
          treatment at an outside facility will be made by h~th care staff.

                                           LAW LIBRARY SERVICES

          An in-house law library is available for your use from 9 a.m. to 4 p.m., Mondaytbrough Friday. You
          must sign up for the law library through the unit deputy. You are allowed one (1) hour per week to
          research your case. Under no circumstances will law books be allowed to be re~oved from the
          library. You may bring paper and pencils to the law library.

          Disruptive behavior will result in loss ofprivileges to attend the law library for a 90-day period. If
          you are on disciplinary or Classification has placed you on the list for assaultive and/or threatening
          behavior or you become a danger to the order ofthe facility, your law IibraI)' privileges to attend will
          be suspended until your classification level changes. Inmate Services will contact you on weekly
          basis in order to accommodate your law library rCquest. (This does not mean that you do not have
          access). We will accommodate any reasonable request for information. You may contact your
          attorney for any additional infonnation that we do not maintain in the law library. We will not
          research your case for you.
'r-
                                  COMMUNICATION WITH ATTORNEYS

          Consistent with security, the rules governing telephone use, visitingprivileges and mail, you hsve the
          right to calI, receive visits or send and receive written correspondence to and from your attorney or




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        other legal representative. Ifyou are level 4.2 due to disciplinaxycharges, you will only be allowed to
        use the phone to contact your attorney during your out-of~ll activity time or ifspecial arrangements
        are made by your housing unit deputy. Inmates assigned to general population may use the phone
        during out-of-cell activity time dr if special arrangements are made by your housing unit deputy.

                                                      MONEY

        You may not possess any money while confined to the facility. Possession ofmoney is considered a
        contraband violation and you can be charged with a rules violation. A personal fund account will be
        set up for you at the time ofyoW' admission to the facility. Any money found on your person at this
        time will be recorded and deposited into your account. After your admission, any funds sent to you
        through the mail or left by visitors will be deposited into your acCOWIt. The finance clerk will
        provide a receipt to you for the same. It is important that you tell your friends and family that only
        cashier's checks and money orders will be accepted. Any purchases you make while confined will be
        withdrawn from your account (i.e.: commissary, haircuts, photocopies, etc.). You may spend up to
        the current allotted amount on commissary each week from your accoWIt. Under special
        circumstances, other withdrawals may be authorized. Funds maybe placed on ~ account only. If
        funds are placed on another inmate's account by you, both maybe subject to disciplinary action.

                                              INDIGENT STATUS

        Indigent Status: To be considered indigent, you must have less than 50 cents in your irunate
        account and a total ofthirty (30) days incarcerated and sign up through the unit deputy.

        Maintaining Indigent Status: You must continue to have less than 50 cents in your Inmate Funds
        Account. You will not be eligib Ie for indigent hygiene WItil after 3D-days from the last ~UI'Chase of
        commissary.

        Indigent Hygiene: Less than 50 cents in your inmate account and a total of seven (7) days
        incarcerated. As long as you are indigent, you will receive.a hygiene kit every thirty (30) days that
        you request it. Hygiene kits include one comb, toothpaste, toothbrush, deodorant and razor.

        Hygiene kits will be issued upon request for pen returnees without a seven (1 da waitin              eriod.

        Iodigent Legal Mail: To receive legal materials (envelopes), you must sign up through the unit
        deputy. Inmate Services will verify your l.;:gal mail, allow you to address and mail your legal mail in
        the presence of the Imnat~. S_~i~~s. _Cl~rJe and or Inmate S.ervice .'pepq!y. Legal materiaJs
        (enveiopes) will be issued for legal correspondence only. You may be entitled to mail up to five (5)
        ounces of first class legal mail per week: at county expense.

        Note: you wlU be provided legal maU only to communicate with your lawyer or a gtWernment
        agency concerning your legal affairs. Any abuse wlU result in disCiplinary chargea.
                                                                                                        ..
                                                                                                     :. ,




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    Indigent Legal Materials Requirements: You must have been incarcerated for thirty (30) days or
    more and sign up through the unit deputy on Ii weekly basis while maintaining indigent status and
    you will receive these items every week as long as you request them and remain indigent

    Writing Packet includes: 1 pencil and five sheets of paper. Envelopes will be issued for legal
    correspondence weekly.

    At no time willyou be allowed to trade or barter with these items. At no time while being indigent
    can you be in possession of any commissary item&. If you are found to be in possession of
    commissary items, disciplinary charges will be filed and the commissmy items conJlscated and
   destroyed.

   Indfgent Hair Cuts: Haircuts will only be provided for jury trials. In order to receive an indigent
   hair cut, you must provide a copy of a speed letter indicating a jury trial and request a hair cut
   through your uni t deputy. Indigent hair cuts may also be given at the approval otthe inmate service
   director for hygiene.
                                         SMOKING POLICY

   Inmates will be allowed to smoke only in the open courtyards adjacent to the ho,using units.
   Smoking is Ulegal inside the facility. Smoking is not pennitted under the building overhang in the
   outside activity area. Violation of the smoking policy will result in disclplinazy action orprosecution
   according to county ordinance. It is the inmate's responsibility to dispose of all cigarette butts into
   the can provided in the outside activity courtyard. Failure to do so may result in loss of smoking
   privileges.

                                         INMATE SERVICES

   Edu~ation Programs:


   Educ&tionprogmms include instruction for grade levels K-6,6-8, and GEDpreparation. If you want
   to be in an education program, you must be approved. Once entering GED, each student is given a
   placement test to detennine their educational level.

   Classification Levell aDd 2: will be allowed to attend GED program.

    a.ssificatlon Level 3 (New Admissions) and 4.1: will not be allowed to attend GED.

   Classification Level 4 (Medical): each case must be evaluated for attending the GED program each
   Wednesday by the Classification Board, after conferring with medical persolll1eI.

   Classification Level 4 (Disciplinary, and Administrative Segregation): These i1Ul1ates will not be
   allowed to attend GED classes. If you want to take the high school equivalency test, you must notify
   the Inmate Services director. You must take. and pass the GED practice text before being eligible to
   take the final GOO test.




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               1.      GED Classes:

                       a.      All students must have a valid social security number. The OED practice
                               testing days are Tuesday and Thursday afternoon. GED testing to receive a
                               high school equivalency diploma is all day Tuesday and Thursday. When the
                               Little Rock School District classes are closed, there will be no classes at the,
                               Pulaski County Regional Detention Facility.

       Photoeopylng Services:

       A charge of 25 cents for each page (I side) copied will be withdrawn from your personal
       account. This service will also be offered for any inmate that meets the Indigent Status criteria.
       The cost ofphotocopying will be charged against your inmate account.

               Personal legal documentation will be copied.

              No legal books will be copied.

       Notary Services:

       You must submit a request to Inmate Services through your unit deputy. Your legal document must
       have the following affidavit at the end ofyour document before it will be notarized. A notary fee of
       $2.50 will be deducted from your account. This service will also be offered for any inmate that meets
       the Indigent Status criteria. The cost of the notary will be charged against your imnate account.


       STATE OF ARKANSAS

       COUNTY OF PULASKI

       Subscribed and sworn to before me, a notary public this_ _ day or.                              20_

       My commission expires:
                                                                         Notary Public



      _Hairc.Y~;,             _                .' - - - - - , .._-----_ •.. _ - ,
       The Pulaski County Regional Detention Facility has a licensed barber who cuts hair on Mondays
       from 9:00 a.m. to 4:00 p.m. You may sign-up for this service through the unit deputy prior to
       Monday ifyou want to receive a hair cut on the following Monday. All services are non-refundable.
       Only the facility barber will be allowed to perfonn haircuts.

       Tndigent hair cuts will only be provided for jury trials. In order to receive an indigent bair cut, you




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   must provide a copy of a speed letter indicating ajury trial and request a hair cut through your unit
   deputy. Indigent hair cuts may also be given at the approval of the inmate service director for
   hygiene.
                                           COMMISSARY
   The commissary will be available to you to purchase snacks, hygiene items and basic over-the­
   counter medicines once a week. The amount you may purchase as of this date is $65.00, which is
   subject to change. Funds must be on your account at least 24 hours prior to making your order. All
   funds must be in form of cashier Check or money order. (No cash or personal checks will be
   accepted.)

   Commissary order forms will be provided in each housing unit. Order fonns must be turned in to
   your housing unit deputy, with no exceptions.

                                            TELEPHONES
   At the time of your arrival at the intake unit, you will have the opportunity to use the telephone to
   notify family and friends that you are injail. You will have the opportunity to call your attorney or
   legal representative and a bonds~an. Once you have been classified and moved out of new
   admission status, you may make telephone callsaceording to your assigned classification level, as
   follows:
           Classification Levels 1, 2, 3, 4.0 and 4.1:

          You may use the telephones located in your housing unit from 7:00 a.m. to 9:30 p.m.,
          during your out-of-cell activity time. 'The only exception to this is during meal times and
          clean up. All calls will be collect only.

          Classification Levels 4.2:

          You may use the telephone located in your housing unit to call your legal representatives,
          clergy and bondsmen only.

   If you are in Level 4.2 for disciplinary reasons, you may use the phonemfor legal reasons, except
   when approved by the on-duty watch commander in extreme emergencies.

   All calls will be COLLECT only. Your housing unit deputy may limit the number of your calls if
   other inmates need to use the phone.

   Phone Cards:

   You maypurchase phone cards on a bi-weekly basis. There is not a limit on the number ofcards you
   may purchase. You may purchase a card by signing up with the unit deputy. The cost ofthe phone
   card will be deducted from your inmate account. All orders are fmal. Pulaski County Detention
   Facility will not be responsible for lost or stolen cards or the unauthorized use of the card. We do
   not refund money on cards ordered, we will place your ordered card in your property if you sign up



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       and refuse it. You may not trade or barter for cards.

           4.2 disciplinary inmates can't pun:hase phone cards.


                                                RECREATION
       You will be allowed at least one hour ofout-of-cell recreation daily. Your behavior will dictate
       the amount oftime you receive.
                                                 TELEVISION

       Televisions are in each housing unit (except disciplinary unit) and are a privilege to use. Any
       disputes abOut television channel selection andlor volume will be resolved by your housing unit
       deputy, who has the authorltyto tum off the television at any time. Televisions will be turned off
       from 10:00 p.m. to 8:00 a.m. and during clean-up and meal times. Televisions are the propertyofthe
       Pulaski County Regional Detention Facility. Any misuse, abuse, destruction or unauthorized
       alteration of this equipment is a violation of disciplinlU'Y guidelines and may be subject to criminal
       prosecution.
                                          RELIGIOUS SERVICES

       You wiD be granted the opportunity to practice your religious beliefs provided they are recognized by
       the facility and do not jeopardize the security of the facility. If your religious beliefs are not
       recognized, you may make a written request to the Sheriffand/or ChiefofDetention to address the
       situation. You will be provided .the opportunity to participate in religious programslcoWlseling
       offered at the facility. You may receive religious literature thraugh subscriptions or good will
       donations as long as they are in paperback fonn and have been approved by the ChiefofDetention.

       All religious activities will be held in the multi-purpose room and will be supervised by an
       authorized voluntary staff member.

                                           MAIL REGULATIONS

       Pulaski County Regional Detention Facility officials acknowledge that inmate correspondence with
       family. friends. business associates, legal representatives, and others is not only important for
       lnailltaiuing Older within the tlWittty, lim msome cases, 18 an est8b~lSbCd ngIit.

       Privileged Mail:

       Any correspondence iiialled 10 or ·from attorneys, couifofficiars~·other government officials-and/or .--­
       members of the news· media. In order for mail to qualify .as "privileged mail," the envelope must
       have some identifiable markings or title on it (e.g., Mr. John Doe, Attorney at Law; Judge Smith;
       Ms. Jane Doe, ABC News. etc.).




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    General Mail:

    /uJ.y correspondencemailedtoorfromaninmates.friends. family, business associate, or any other
    individual not covered Wlder the definition or "privileged maiL" General mail may also include
    newspapers from their publisher. Hoarding ofnewspapers will not be allowed. Excessive paper is a
    fire hazard. No inmate will have in their possession more than two newspapers.

    Mail delivery will occur every Monday through Friday. Mail received on Friday will be processed
    out and distributed to inmates on Monday (excluding holidays). Mail should not be held longer than
    twenty.four (24) hours (excluding weekends and holidays). Under no circumstances will mail
    identified as privileged mail be searched without being in the presence of the inmate to whom the
    mail is addressed. Inmates need to understand that all incoming mail is subject to examination for
    contraband. All money sent through the mail for inmate use must be in the form of either a cashier's
    check or money order.

    Inmates will be instructed to seal all outgoing mail. An official mailbox will be located in each
    housing unit and inmates will be advised to deposit aU outgoing mail in the unit mailbox. Inmates
    may purchase pre-stamped envelopes through the commissary. Inmates designated as indigent may
    be provided up to five (5) pre-stamped envelopes per week, for legal mail.

    Requests for envelopes by indigent inmates must be made to hunate Services. Inmates are allowed
    indigent mail for legal pmposes only, which is verified by inmate services and initialed). All mail to
    and from high risk or security risk inmates will be inspected for contraband. Inmates are not
    permitted to send mail to and from inmates within the facility. Reading and censoring will be up to
    the discretion of the Chief of Detention. (Exceptions: mail to attorneys, courts and judges.)

    Incoming genenu mail may be withheld ifany part or all ofit contains one or more ofthe following:

    • Threats ofphysical harm against any person.
    • Threats ofblackmail or extortion.
    • Contraband or plans to send contraband to the facility.
    • Instructions for making weapons, drugs, or alcohol.
    • Plans to violate any rules or regulations ofthe facility.
    • Plans to escape or assist in an escape.
    • Plans for the committing of a crime or evidence of a crime.
    • References to sexual activity that actually threatens facility security.
    • Ally other material that actually may threaten the general order and security of the facility.
    • Letters 1envelopes containing postage stamps andlor envelopes.
    • No pictures allowed.


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                                         WORK AsSIGNMENTS

     If you are sentenced you can be required to work. Pre-trial detainees may volunteer to work. Work
     applications for food services, maintenance, general housekeeping, etc., maybe obtained from your
     housing unit deputy. All approved applications will be forwarded to the inmate work coordinator
     aod ~qu~ts will be considered as jobs become available. The decision to either approve or deny
     work applications will be provided to you in writing.

                                       BASIC INMATE RIcms
     You are entit led to humane treatment and to protection from threats, intimidation and physi cal
     injwy.
     You are entitled to appropriate and necessary medical and dental care. You are to be provided with
     the items necessary to maintain personal hygiene, cleanliness and healtb. to include access to bathing
     facilities, personal care items, clean clothing, bedding and linens.

     You are entitled to at least three (3) meals a day that pr~vide adequate daily nutrition.

     You have the right to participate in regular out-of-cell exercise, provided that it does not jeopardize
     the security and/or safety of the facility.
     You have the right ofaccess to the courts. This includes the right to reasonable access to attorneys,
     either by telephone or through visits and/or mail. We provide, as a privilege, BCcess to the Law
     Library and to law library materials.

     You have the right to practice your religiousbeliefs,so long as the practice of those beliefs does not
     affect the security and order ofthe facility. you also have the right to freedom ofspeech, provided
     that you do not exercise that right in a manner that jeopardizes the security and order ofthe facility.
     You have the right to freedom ofassociation and the right to privacy, subject to the maintenance of
     order and security of the facility.

                                               VISITATION

     At your arrival time in the Intake unit, you may establish a list of(15) visitors' names, addresses and
     pb.one numbers. All inmates must wait a period of72 hours before he Or she can have social visits.
             .                           age mus ave a plCw.re . . In order to visit with inmates in the
     facility. All children under the age of eighteen (18) years of age must be accompanied by an adult
     during visitation, no exceptions. Children under fifteen (15) years of age do not have to be on the
     itunate's initial visitation list. However, if an adult for visitation is accomjlanying cbUdren, the               i
                                                                                                                 -->-
     Visitor schedlilmg'ffi6appomtmeitt muSt infonn the clerk. All visits will be limited to 30 minutes and             I
     will be on 8 first-come, first served basis, and by appointment only. Visitors must check in 15                    i
     minut~ prior to their scheduled appointment. NO neWTONS - FAILURE TO REPORT IN
     AT THE APPROVED TIME WILL CANCEL THE VISIT. ALL APPOINTMENTS MUST
     BE MADE TWENTY-FOUR HOURS IN ADVANCE. Only three (3) visitors may visit at one
     time. A visitor under the age of 18 is considered a visitor and must be included in the visitation




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          ~ppointmcnt list. An inmate is allowed only one (1) visit per day. All visits will be non-contact visits
          and will take place in the visiting area located in each housing unit Upon written request an inmate
          may change or revise their visiting list, monthly. Once an imnate removes a name from his or her
          visitation list, that person may not be added back to the list for a period of thirty (30) days.
          Bondsman can visit at any time ifneeded, by checking in through visitation. While you are housed
          in an intake unit, you will have the opportunity to visit with your bondsman, as needed.

          You may meet with your attorney during normal visitation hours. Ifyou are housed in the intake unit
          for longer than 72 hours, you will be allowed general visitation privileges. Once you have been
          classified. your classification level will determine your genernJ visiting privileges:

                                           VisibitiOD Hoars are from 9:00 a.m. to 7:00 p.m.

         All inmates m: currently receiving ene visitation per week with the exception of out-of-town
         visitations (travelins over 100 miles one-way). Out of town visitors are given one unscheduled
         visitation and after the first visitation they are infonned of the rules ofinmate's visitation. A sheet
         is provided to them with all of the updated information. After the flfSt visit, all nonnal rules
         apply. Out of town visitors must provide a valid picture J.D. showing proof ofresidency.

         Imnates with the last name beginning with A·M visitations are Saturday Q! Monday
         Inmates with the last name beginning with N·Z visitations are Sunday Ql: Tuesday.

         Inmates may receive only two clergy visits per week. ApprOVed clergy will be allowed to visit
         anytime during normal business hours in the visitation booth. Clergy must possess an J.D. card
         issued by the Ceunty Clerk's Office•
                                  ..   ~




         Trusty visits are scheduled by them and forwarded to Visitation on a list informing us of the
         visitation and time. The inmate's family must call to see if they are on the list for visitation.
         T1\ISty visitation rules apply as with the other inmates. Trusties are infonned not te schedule
         visitations d.uring their work hours; trusties will not be held in for social visits.

         •••• Visitation schedules are subJect to change at any time In order to meet facility security
                                    needs or manpower constraints• .,..,.• .,.



                                                  PERSONAL PROPERTY

         Your personal property that you wear into the facility will be stored at the jail. Unless you are in
         disciplinary or administrative confinement, you may keep the feDowing property with you in the
         unit:
                     Legal documents or papers                Prescription glasses,
                     & magazines                              Detention clothing and supplies.
                     Commisswy items

         Any items other than those listed above are considered contraband and are subject to confiscation



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      and disposal according to the roles of the facility. Imnates on disciplinary or administrative
      confinement may be restricted from keeping certain items, depending on the reason for the
      confinement (SGicide risk, disciplinary, etc.).

      If you want to release your valuabIe property to a family member or friend, you must complete a
      "Release ofProperty" fonn, and release III your valuable property. Partial property releases win not
      be done. Anyone claiming your propertywill be required to showproper identification and sign the
      release fonn. Property will be released seven (7) days a week, twenty·four (24) hours a day,
      excluding holidays.

      Your clothing will be stored at the facility and returned to you at the time of your release or transfer
      to the Department of Corrections. If you feel any property stored at the facility during your
      confinement has been damaged. or lost, inunediately advise the property clerk. The clerk will notify
      the intake supervisor who will make an attempt to resolve your concerns. If you are not satisfied,
      you may submit a written complaint to the commander of Intake for resolution.

                                                     LAUNDRY
      Your clothing and linen will be picked up twice weekly for laundering. Laundry schedules will be
      posted in your housing units. You must tum in dirty items to be issued clem items. Your housing
      unit deputy can provide you with additional information and procedures.

                                                       MEALS

      ¥ou will be served three (3) meals daily per Arkansas Jail Standards. Approximate meal times are:

                                                Breakfast:       7:00 a.m.
                                                IAmch:           11:30 a.m.
                                                Supper:          4:30p.m.

        Special diets for medical reasons must be approved by the medical staff. Inmates committed to the
        facility wm be charged a fee for each meal as authorized by law, which will be deducted from your
        account. The price for each meal will not exceed the current food contract cost. Lack of funds will
     -- Il:et ",,,,,'efit ) ell :&-em: leeehing nled" howeyex dxis d1IlOui1l will becanled as atlegmfve tsa1ance on
        your account.

                                  DETENTION F~CILITY..PERSONNE,L

      There will be a sufficient number of supervisory and reJiefpcrsonnel provided. The Pulaski
      County Detention Facility will adhere to the Jail Standards handbook as to facility personnel
      available at all times. The specific number of personnel available will be one deputy to (80)
      inmates. Any number over 80 will have two (2) deputies.

      Tear gas, mace, or pepper spray will only be used for the following:



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,   .              1.        Enforce a lawful order given to an inmate
                   2.        Subdue an inmate who is violent.
                   3.        Maintain the security of the facility.

                   Tear gas, mace, or pePper spray will only be used by detention personnel who are trained in
                   its use; it's affects to the body & first-aid treatment for reactions to them.

                                      PROCEDURES FOR INMATES
                                 DISCIPLINE I RULES AND REGULA nONS

            A prisoner or inmate shall be subject to discipline only for those violations described in this
            handbook or those which have been or may be prescribed by state law. If the offense committed
            constitutes a crime. the Chief shall refer the case to the appropriate division for' formal charges.
            Whether or not the offense constitutes a crime, the inmate shall be subject to disciplinary action.

            Rules and Regulations:

            I.     All inmates will comply with any and all directives given them by a staff member.
                   Inmates will receive all instructions from the unit deputy. Inmates will not be aHowed to
                   approach 8Ilyone entering the unit, without first obtaining permission from the unit
                   deputy.
            2.     Inmates will not assault any person while in this facility.
            3.     All inmates are required to keep their living area clean. Excessive paper, trash. uneaten
                   food (except authorized lUlopened commissary items), will not be tolerated. All personal
                   items must be stored in the action packer when not in use. All inmates except those that
                   are medically excused, will assist in the clean up of all community areas at the direction
                   ofthe unit deputy. This includes day rooms, activity areaS, showers and outside
                   recreation areas.
            4.     Imnates are required to maintain personal hygiene while in this facility. Shower facilities
                   are aVailable 8Ild imnates are required to shower daily.
            5.     At no tidte will an inmate enter another inmate's room unless directed to do so by a staff
                   member.
            6.     Inmates will not sit or lean on the upper level railing nor on, or under. the stairways in the
                   housing unit.
            7.     Inmates wiIl not bring blankets, sheets or any other bedding from their rooms unless
                   directed to do so by a staff member.
            S.     Inmates will be required t~ keep their beds made any time they are not in bed. No item of
                   clothing, towels or bedding will be hung on rails or doors of any inmate's room.
            9.     Inmates will consume their meals in the activity areas unless directed otherwise by the
                   housing unit deputy. This will not apply to lock-down units.                                .
            10.    All inmates will stand for h.ead cOlUlt when directed to do so by a deputy.
            11.    All inmates will wear an identiiication badge. No services wiIl be given an inmate who
                   cannot be properly identified. It wiIl be the inmates' responsibility to request a new In
                   badge should the old one need replacing. Obvious tampering with the ID badge wilI result



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              i,n disciplinary charges being moo. There will be a $5.00 charge for the replacement of any
             damaged ID Badge.
       12.   Inmates are not pennitted to take personal items outside this facility except on final
              departure. This does not include legal documentation relating to their case, which will be
             allowed to be taken to court.
       13.   Inmates are strictly prohibited from possessing any item considered as contraband.
             Contraband is defined as any item not officially issued by the Pulaski County Regional
             Detention Facility, purchased from commissary, any item altered so as to perform a function
             other than that for which it was intended or excessive BlDOUDts ofany authorized materials.
       14.   Imitate telephone calls are collect calls only. Calls are limited to fifteen minutes in length.
             There is no restriction on the number of attomey phone calls an inmate may make. Three­
             way calls are not aJlowed.
       15.   Inmates will be fully dressed any time it becomes necessary to be out oftheir assigned room.
              No hats or head covering will be allowed.
       16.   Inmates are required to immediately go to their rooms any time a disturbance occurs in the
             housing unit or when directed to do so by any staff member.
       17.   All inmates will ensure that the door of their room is securely closed at all times and will
             immediately report any malfunction to the unit deputy.
       18.   Inmates are not allowed near or behind the deputy's work station (including on the stairs).
             You will remain outside the red line from the workstation at all times unless directed
             differently by a staff member.
       19.   Inmates will not take chairs, food items, or beverages to the outside activity area or upstairs
             unless directed to do so by a staffmember.
      20.    Imnates will not participate in any gambling activity.
      21.    Inmates are pennitted to only have authorized underwear.
      22.    No jewelry will be worn by inmates in this facility. All jewelry will be kept in the facility
             property room. Only prescription glasses are authorized for wear in this facility. No
             handmade jewelry, handmade accessories, or cosmetics.

      NO INK PENS, COLORED PENCILS, CRAYONS, OR MAGIC MARKERS                                         ~
      ALLOWED.

      INMATES ARE PROHIBITED FROM PARTICIPATING IN ANY GANG ACTIV:ITY.


      BOARD IF THEY DAMAGE OR DESTROY ANY COUNTY PROPERTY.




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                                                 VIOLATrONS

         The following infractions shall be considered Minor Violations of the Pulaski County Detention
         Facility:

         A. Class I Violations:

                1.     Abuse of a privilege (telephone, mail, visitation, library, commissary, recreation,
                       television, trusty status, education or therapy status.)
               2.      Disrespectfu1language or conduct toward a staff member
               3.      Being out of assigned place or failure to stand for heaclcount.
               4.      Making unauthorized contact with stafTmembers entering the unit
               5.      Failure to maintain a clean and orderly living area.
               6.      Failure to disperse and go to room during a disturbance.
               7.      Failure to observe basic standards of personal hygiene in bathing and grooming.
               8.      Leaving room door open.
               9.      Failure to wear identification badge properly at all times.
               10.     Failure to be fully dressed when outside living area.

        Any violation may result in disciplinary charges being filed. All violations Will be docwnented by
        the housing unit deputy.

        The penalties for the above violations may result in lock-down and loss ofgeneral privileges for UP
        TO TEN (10) DAYS AND THE LOSS OF TEN DAYS OF MERITORIOUS GOODTIME
        (also see minor violations p. 20).

        The following infractions are considered Major Violations of the roles and regulations of the
        Pulaski County Detention Facility:

        B.     Clas,s II Violadons:

               l.     Refusal to obey an order from a staff member in a timely manner.
               2.     Fighting.
               ~.     Theft ofproperty.
              . 4.    Possession of stolen property.
               .5.    Tampering with or blocking any device or security equipment.
                6.    Possession of contraband. (See dennition of contraband.)
                7.    Interference with a staff member perfonnance of duties by verbal or physical
                      intimidation.
               8.     Abuse of the Indigent Program.
                      a.      If you remain on indigent status but have money placed on another inmate's
                              account (one who is not indigent), and have iliat inmate buy and pass
                              commissary to you, you will·be subjeCt to disciplinary actions. Any inmate
                              who orders commissary must maintain possession for hislher personal use.
                      b.      Trading indigent supplies to another inmate for anything.




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              9.     Abuse of the Grievance Procedure.
              10.    Fwnishing prohibited articles to another inmate.
              11.    Indecent exposure.
              12.    Disorderly conduct.
              13.    Aiding or abetting in the commission of any rule violation.
              14.    Deliberately flooding ofa cell or shower.

      The penalties for the above violations may result in lock-down and loss ofgeneral privileges for UP
      TO TWENTY (20) DAYS AND THE LOSS OF TWENTY (20) DAYS OF MERITORIOUS
      GOODTIME.

      C. CLass ill Violations:

              1.      Causing bodily injury to another inmate
              2.     Causing bodily injury to a staff member.
              3.      Inciting a riot.
              4.      S6XUal activity by coercion or consent.
              5.     Assault; any willful attempt or threat to inflict injury upon the person ofanother with
                     or without a weapon.
              6.     Making sexual threats or gestllIes towards a staffmember.
              7.     Participating in a riot.
              8.     Extortion, gambling, blackmail, demanding or receiving anything of value for
                     protection of any kind.
              9.     Causing a fire or setting of any fire, through carelessness. neglect or deliberately.
              10.    Escaping, conspiring or aiding an escape. This includes second degree escape.
              II.    Making, using. hoarding, possessing intoxicants or drugs or being under the influence
                     of same.
              12.    Participating in gang activity.
              13.    Making faIse accusations against another inmate or Staff.
              14.    Menacing with a weapon or what appears to be a weapon.
              15.    Possession ora weapon
              16.    'Destroetion or damaging ofColDlty property.
              17.    Failure to take or pass a random drug test.

      The     aities for the above violations rna   r~It i   loc ·d
      TO THIRTY (30) DAYS AND THE LOSS OF THIRTY DAYS MERITORIOUS GOOD
      TIME.

   .. _ Observation !lUDfracti()n:

      When a staff member witnesses a violatio[} of roles by inmates. helshe shall initiate procedUres as
      follows:
             Violent Inmates· If the inmate is violent or there is immediate and reasonable cause to
             believe the inmate will inflict injury on another person, himse1~ or facility property. the
             inmate shall be promptly confined in a Behavior Management Unit. This action must be




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               approved by the watch commander.

              MInor Violations· If the violation appears minor in nature, (see minor violations, p. 18),
              the unit deputy shall either:

               1.     Vernally warn the inmate (5) that the behavior displayed is inappropriate, if the
                      behavior occurs again, room confinement will be used as a corrective measure, or:
              2.      Place the imnate on room confinement in accordance with the "Minor Violations"
                      section of this handbook, p.l8.
              3.      Disciplinary charges may also be tiled upon the deputy's discretion'.

       All incidents that involve room confinement will be documented in the unit log. The Shift
       Supervisor will be notified when an imnate is placed on room confinement. The Classification
       personnel will document the reason and the amount of time of the lock-down on the inmate's
       computer book-in narrative page.

              Major Violations· If the violation or infraction appears major in nature, the unit deputy
              shall promptly notify the watch commander and write an incident report.

              Violation Review - Upon the receipt ofa written report ofany violation, the shift supervisor
              shall review the facts and dctennine the appropriate action:

              1.      File fonnal charges to the disciplinary board.
              2.      File criminal charges.
              3.      Refer to watch commander for further investigation.
              4.      Ifharm to hims elf, another inmate, staffor facility property is imminent, confinement
                      in the Administrative Segregation Unit.

       Female and Juvenile inmates will be confined in a sub·day room of the respective housing unit.

       Informing the Inmates:

       The shift supervisor will infonn the inmate of~" action taken as soon as possible. If chacges are
       filed to the disciplinary board or officer, a notice ofcharges (s) will be given to the inmate, along
       with a copy ofthe incident report at least 24 hoUlS before the hearing:

       Charges:

       Alleged violations warranting discipline will be forwarded ~y the watch conunander to the
       disciplinary board or officer. Charges must be in writing and also must specifically state or describe
       the alleged violation. The watch commander shall insure that the charge is sufficiently specific and
       that the specific section(s) of this code are placed on the charge and a copy will be given to the
       inmate. A hearing on the charge wiil be held within 72 hours (excluding weekends and holidays).
       Hearings will be held every Monday, Wednesday and Friday, or as needed.




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      Hearings:

      AU hearings will be conducted by the Disciplinary Board or Officer. The imnate charged will be
      present at the hearing except during the boards' deb1>erations unless he has specifically waived this
      right in writing or if the board chainnan decides that the inmate's pre'sence would jeopardize the
      secure and orderly operation ofthe facility. Any time that an accused inmate is excluded from the
      hearing, the reason mtlst be documented in the record. The chairman will call those witnesses he
      considers reasonably available and necessllI)' to address the charges. Incident reports and written
      witness statements will be considered by the board as evidence when a witness cannot attend.

      All witnesses will be subject to cross-examination. However; an inmate cannot be compelled to be a
      witness against themselves. The ronnal rules ofevidence shall not applY; however, all decisions of
      the board shall be based on substantial evidence. All decisions of the board shall be in writing, and
      the board will make finding as to disputed issues, set out its conclusions and, if appropriate, assess
      the discipline. All decisions will be rendered within 24 hours ofthe hearings (excluding weekends
      and holidays).

      Appeals:

      An inmate may appeal the decisions ofthe board to the Sheriffor designee. All appeals must be in
      writing. !fan inmate cannot write, the ChiefofDetention will appoint someone to assist the inmate.
      The appeal must be forwarded to the Sheriffor designee within 48 hoors· (excluding weekends and
      holidays). The Sheriff, or his designated representative, will affirm, reverse or modify the decision
      ofthe board within 72 hours· (excluding weekends and holidays) of receipt ofthe appeal.

      This decision will be final, will be in writing Wld will state why the decision is affmned, reversed or
      modified. The discipline imposed by the board may not be imposed until :thetime for appeal has nUl,
      Or if an appeal is filed, until;the Sheriffhas rendered his decision.

      Disdplinary Segregation:

         A. DermitioD. Discip linarySegregation: "A transfer to more restrictive confinement than the
             general population, as SWlction for violation of a rule or law". An imnate may be placed in
             disciplinary segregation only upon conviction by the disciplinary board after a fair and
             Imp a eanng an              s on 0

         B. Location· The Behavior Management Unit will be for male inmate serving
            .disciplinary sente~~~. ~~i.t_~o..naIly, the_ cells in the disciplinary units will Dot be used to
             house Inmates OD non-disciplinary status enept in Case of emergency. The BehaVior
             Management Units will be furnished with proper heat, light, ventilation and sanitary
             facilities.

         C. Female Inmates - Female inmates will nonnally serve out their disciplinary
            sentences in the lock-up rooms ill the Women's Unit.




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                                  ADMINISTRATIVE SEGREGATION

       Administrative Segregation is a fonn of separation from the general population used when the
       continued presence ofthe inmate in the general population would pose a threat to life, self, property
       or to the secure and orderly operation oftile facility.

       Reasons (or Administrative Segregation:

       1.       Medical observation (includes psychological)
       2.       Escape risk and persons who pose a risk to security and order.
       3.       Suicide risks.
       4.      Protective Custody - May be voluntary or involuntary.
       5.      Inmates who continue to participate in gang activity.
       6.      Inmates awaiting Disciplinary Board action who present a threat to good order and security.
               bunates will not be removed from general population status for disciplinary reasons without
               justification spelled out in a Pre-hearing Detention Fonn. In cases when the on-duty watch
               commander feels that temporary confmement (a "cooling off' period) is needed, this is
               pernUsSlole with documentation; however, fonnal disciplinary charges must be filed by the
               end of the investigating watch commander's tour of duly or the inmate must be transferred
               back to the general population.

      Documentation:

      Written reports detailing the reasons for placing the inmates in Administrative Segregation shall be
      prepared and forwarded to the classification board and the Chief ofDetention.

                      CONDITIONS OF ADMINISTRATIVE SEGREGATION

      Inmates on Administrative Segregation shall not be deprived of any rights guaranteed by laws or
      any privilege ofthe general population; as is consistent with existing conditions and/or the
      security needs of the facility. Inmates on Administrative Segregation shall be housed in the
      following area (s):

       1.      Female and juvenile imnates will be confined in a sub-day room of the respective
               housing unit.
       2.      Administrative Segregation Unit.

       Administrative Segregation Procedures

       Protective Custody:

            A. You can be placed in protective custody status in three (3) ways:

                I.     You can request that you be placed in protective custody status; or,




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               2.      A staff member can recommend you be placed in protective custody.
                       You may.be placed on protective custody if you provide substantial reaBpns to
                       suggest that your life or the lives of others are jeopardized as a result of your
                       continued housing in a particular housing unit.
               3.      A judge or prosecutor can recommend that an imnate be placed in protective
                       custody status.

       B.      All requests for protective custody, either by you or by the staff, will be granted by the watch
               commander.
       C.      All requests for protective custody, either by you or by the staff will be fotwarded to the
               classification board for consideration.
       D.      The classification board will review at its next meeting such requests. The classification
               board will respond to your request immediately after the classification board meeting.
       E.      You have the right to appeal to the ChiefofDetention or his designee on any ruling that you
               are not satisfied with.
       F.      The Classification Board shall review the status of all inmates in Administrative Segregation
               at least once a week. The inmate wilI have the opportunity to appear in person to present
               his/her case to the board every thirty (30) days.                               •

       Release from Administrative Segregation:

       Release from Administrative Segregation may be authorized by the following:

               1.      The Classification Board.
               2.      The Medical Authority.
               3.      The Chiefof Detention or designee.

       In all cases, release may be authorized only when the condition which required administrative
       segregation no longer exists.

                                          GRIEVANCE PROCEDURE

       A grievance is an allegation or accusation suggesting you have been mistreated, neglected, abused or
       deprived of something Wllawfully; or that a staff member has committed an action which is in
         . .                                      .
       Steps of the Grievance Procedure:

  _   ..I.     Inmat8-mU&t·fust -attempt t6 vereally resolve the grk.-anee, incident, ploolem or cOIllplahlt· . - - - - - ­
               through the unit deputy.

       2.      If the problem can not be resolved, the imnate may file a written grievance within fifteen (15)
               days ofthe incident or occurrence. Note: The grievance may ably address one (1) issue Dr
               problem and should also state what wrredlve action you seek. The grievance may only
               address Issues directly relating to an incident or event involving the griever. You



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                     cannot me a grievance on bebalf of someODe else.

             3.     Initial processing - completed fOlms will be placed in the locked grievance box provided in
                    every unit. The grievances will be collected every day, excluding weekends and holidays,
                    and delivered to the Grievance Office.

             Time Frame of Grievance Procedure:

             The grievance will be answered within ten (10) worlcing days oftile Grievance Officer receiving your
             grievance, An extension may be filed in order to give the Grievance Officer more time to complete
             the investigation. A written explanation will be submitted to the inmate explaining the delay in
             processing.

             Emergency Grievances:

             Griever may declare an emergency situation only if they believe that by observing the regular time
             limits for disposition, they may be subject to risk of personal injury or other serious and
             irreparable harm, Emergency grievances may be filed as follows:

                    The griever will mark the appropriate box on the grievance form indicating     an emergency
                    situation.

                    The housing unit deputy wiU notify hislher watch commander or designee of an emergency
                    grievance,

             Note: Disciplinary action wUl be taken against any inmate filing a false emergency grievance.
             Appeal Proens:

             1.     The griever may appeal the answer received from the Grievance Officer or designee
                    within ten (I 0) working days of receiving an answer to their grievance.

             2.     The Chief of Detention will attempt to resolve the matter or uphold the decision of the
                    Grievance Officer.

             3,     The Chief ofDetention has five (5) working days to respond.

             Note: Release of the inmate from custody will normally terminate his/her grievance, unless the
             parties are under court order to exhaust remedies or the grievance highlights a problem with
             overall facility operations.

             Matters Wbich Cannot Be Grieved:

             1.     Trusty job assignments
             2.     Release matters
             3.     Housing unit assignments




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       4,      Disciplinary matters
       S.      State and Federal case laws and laws or regulations
       6.      Anticipated events
       7.      Requests for disciplinary actions against an employee
       8.      Claims for monetary damages
       9.      Administrative directives
       10.     Group petitions
       11.     Any matter beyond the control of the Pulaski County Detention Facility

       Abuse of the Grievance Procedure:

       1.     Excessive use of the procedure, Excessive is defined as the submission ofnumerous or
               redundant grievances beyond that which is considered reasonable.
       2.     Declaration of an emergency grievance When it is determined that no emergency existed.
       3.     Use ofindecent Or vulgar language.
       4.     Malicious use of the procedure by any inmate who knowingly makes false statements
               about staff.
       S.     Frivolous grievances which are clearly insufficient and readily recognizable as devoid of
              merit or do not provide a sufficient basis for appeal may be returned to the inmate without
              being processed.

       Grievance Request Forms can be obtained from the deputy in each housin~ unit.

       You will be provided a copy of your grievancefonn when the response is returned. In all cases
       you will be required to sign the bottom of the original form (signifYing you have been provided a
       response).

       The original grievance form and the response must be returned to the Grievance Officer within
       three (3) days of completion. In the event you are not satisfied with the initial answer, you can
       file an appeal to the response.

       Appeals must be filed on the grievance appeal fonn within 24 hours following receipt of the
       initial request/complaint/grievance response. Appeals should also be placed in the special
       mailboxes and will be controlled by the Grievance Officer in the same manner as the initial
       request/complaint/grievance.




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                    In The United States District Court For The Eastern District of Arka.sas
                                     Western Division
        BILLY HIll, et at.,      :                                                                      Plaintiffs
        V.                  NO.LR-C79-465
        PULASKI COUNTY, ARKANSAS, et al.,                                                            Defendants
        RONNIE TOWNSEND                                                                               Intervener
                                                       ORDER

        This order is centered upon the application of plaintiffs, for a preliminary injunction. A hearing
        on the matter was held December P. 18 and 19,1979.

        The court makes the following findings of fact and conclusions of Jaw:

        The court has jurisdiction of this matter, which was brought pursuant 42 U. S.C. 1983, under the
        provisions of28 U.S.C. 1343.

        Four factors must be considered in deciding whether a preliminary injunction should issue:
        plaintiff's likelihood of success on the merits, the injury to plaintiffs if the injunction does not
        issue. the injmy to defendants if the injunction does issue, and the public interest in whether the
        injunction is granted or denied.

        3.     The court finds that there is a substantial likelihood that the plaintiffs will prevail at trial.
               The court reaches this conclusion based on several factors:

               a)       First, the court finds that there was substantial credible, live evidence that
                        excessive force has been employed on occasion in the Pulaski County JaiL In this
                        regard. the court credits the testimony of Sam Moore, Vincent Sims, Diane
                        Taylor. and Melvin Melton.

               b)       The court is also impressed by the fact that officers involved in the incident with
                        Billy Hill and Antonio Harriott made conflicting reports concerning the matter.

               c)      The court also gives weight to the fact that Billy Hill was taken from the juvenile
                       pod to be questioned while he was still naked. This was inherently humiliating.
                        and no excuse for this conduct was given.

               d)      Finally, there is the fact that the county filed a stipulation with this court three
                       years ago, Dickinson v. Davis, LR-C74-2.5, and has not completely complied with
                       the terms ofthe stipulation.

               e)      If the injunction does not issue, the plaintiffs will continue to be exposed to
                       incidents of excessive force. Thus, the injury to them is comparatively great. while
                       the injury to the cOlmty, if the injunction does not issue, will be slight, if there is
                       any injury at all.




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        5.     Lastly, there is the question of the public interest. While the court recognizes that the
               public has an interest in having pLmal institutions for the incarceration of those charged
               with or convicted of violations of the law, the public also has an interest in humane
               treatment pfpersons so incarcerated.

        6.     For aU of the reasons set out, the court concludes that the injWlction should issue.

        7.     The defBlldants are hereby enjoined from the use of forcel or violence against imnates
                except when it is reasonably necessary, as perceived by the officer at the time, either (1)
               to enforce a lawful order against an inmate, or (2) to subdue an inmate who is offering
               violence against an officer or another prisoner. Sexual advances that are not consented to
                are also specifically prohibited.

        8.     The defendants are ordered to post copies of the stipulation in Dickson and ofthis Order
                in each pod in a permanent fashion and to give a copy to inmates as they enter the
               facility. Further, the last sentence contained in the rules of Dickson, as compiled by the
               defendants, which was not contained in the original and speaks of modification or
               suspension of the roles, shall be deleted from those copies posted or passed out.



                      In The United States District Court Eastern District of Arkansas
                                             Western Division


        VEDBLL DICKSON, BT AL                                                                  PLAMfIFFS
        VS.                  NO.LR-74C-2S
        LYNN DAVIS, BT AL                                                                    DEFENDANTS

                                                   DECREE


        From the pleadings, evidence and stipulations submitted, and statements of counsel, the Court
        finds and orders as follows:

               The Amended Stipulation of parties, filed of record on December 15, 1976, is hereby
               approved; and the defendants are directed to be in full compliance with the rules and
               regulations set forth in the Amended StipUlation no later than January I, 1977.

        2.     PlaintiffS' ~qii~st· that thi~~se bed;sig11lrt~d~~1~s action is denied with prejudice.

        3.     Plaintiffs' request that this Court promulgate a role pertaining to the training of correction
               facility personnel is temporarily denied; but leave is granted for plaintiffs to reapply for
               such relief six months after the date of this De'cree. Since state and county authorities are
               engaged in a project which envisions an adequate training program, the Court fmds that




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                   action should be deferred on this issue even ifthe Court has jurisdiction to promulgate
                   such an order. The question ofjurisdiction on this point is also left open. A renewed
                   request for this relief must be made within three months after the expiration ofsix months
                   from  the date of this Decree.

        4.         The request of plaintiffs' COWlSel that a reasonable attorney's fee be taxed as costs against
                   the defendants and Pulaski County is left open pending submission ofbriefs by counsel.
                   and pending a possible hearing if the Court determines that such relief is legally
                   permissible.
                                              AMENDED STIPULATION

        The plaintiffs (except Jack Rheuark who is proceeding pro se), by William R. Wilson, Jr., their
        attorney, and the county defendants, Judge B. Frank Mackey, SheriffMonroe Love, Captain O.
        A. Allen, and Deputies Adrian West, Charles aark, Larry Newkirk. ;Jim Glassburn. Paul
        Spradling and Joe Johnson, and their successors. by Jolm Wesley Hall, Jr., Deputy Prosecuting
        Attorney; their attorney, hereby stipulate to rules ofthe maintenance of, and the manner of
        incarceration ofdetainees in the PUlaski County Community Correctional Facility (the
        correctional facility) and agree that they may be incorporated into a consent judgement.

       A part of this action was originally brought over conditions offederal detention of the old
       Pulaski County Jail. Since the action was filed, the new correctional facility was opened, and the
       old Pulaski County Jail was closed to incarceration ofprisoners. Plaintiffs filed a motion to
       establish roles which pertained to the facilities of the old jail. While the old jail is closed, this
       stipulation is in response to that motion. It is stipulated that, while rules on conditions ofthe
       facility ate established herein; the parties stipulate the correctional f!lcility is not presently in such
       condition. It is further stipulated that by agreeing to this stipulation, these defendants do not
       admit that these rules correct any specific wrongs on their part at the correctional facility.

       The partiel5 are stipulating to recognized constitutional rights and standards for jails and
       prisoner's life. For the purposes of seeking attorney's fees, plaintiffs specifically reserve the right
       to contend WlcoRstitution8.l conditions previously existed. Federal detainees are referred to herein
       as "detainees."

             RULES OF PULASKI COUNTY COMMUNITY CORRECTIONAL FACILITY

        1. OUTGOING MAIL

             1.1      Mail to attorneys shall not be read.
             1.2      Mail to judges. courts or elected public officials shall not be censored.
             1.3      There shall be no censorship ofoUter outgoing mail except as is reasonably necessary
                      to jail secwity. Other outgoing mail may be read in the jailer's discretion.
             1.4      There shall be no limitation on the persons to whom outgoing mail be directed.
             1.5      Outgoing mail shall be delivered to a mailbox or a mailman at least once every
                       wQrking day.
             1.6      Prisoners may freely obtain writing material and postage at their own expense either




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                 from the correctional (acility or other sources.
         1.7    Indigent inmates maybe entitled to mail up to five ounces of:first class legal mail per
                week at county expense if they sign an affidavit of indigency for postage and writing
                material.

      2. INCOMING MAIL

         2.1    Mail from attorneys, judges, courts or elected public officials shall not be censored
                but they may be inspected for contraband. Mail from attorneys shall be opened only
                 in the physical presence ofthe prisoner addressee and shall not be read.
        2.2      Other incoming letters maybe inspected for contraband, read and censored in whole
                  or in part when reasonably necessary to jail security.
         2.3    lncoDling parcels may inspetted for contraband.
        2.4     Incoming parcels and mail shall be delivered within six hours of receipt by the
                correctional facility absent unusual circwnstances.

      3. TELEPHONES

        3.1     Pretrial detainees shall be entitled to as many telephone calls as are reasonably
                necessary to obtain counsel ifthey are without counsel.
        3.2     A reasonable number of other phone calls will be pennitted if circumstances arise
                necessitating additional calls; e.g. changes in status ofcase, conducting necessary
                personal business.

      4. VISITATION

        4.1     A pretrial detainee shall be allowed to consult with his attorney or potential attorney
                at any.
        4.2     Prisoners shalJ be allowed daily visitation by appointment only during regularly
                scheduled visiting hours. Accommodations shall be made (OT special circumstances.
        4.3     Pretrial detainees and prisoners under sentence may have visitation privileges
                abridged or denied for a reasonable period i(they are bona fide security risks, abuse
                visitation privileges, or have committed acts requiring discipline.

      5. DIET

        5.1     Minimum nutritional standards shall be maintained per the recommendations of a
               health official.
        5.2    Foods shall be served at the proper temperature, fresh and in reasonable variety.
        5.3,.. Serving methods shall rom mininmm health ll'aadardS.          -          -.-._­
        5.4    Kitchen, kitchen equipment, food storage, and sanitation shall meet minimum health
               standards.
        5.5    All persons, whether prisoners or employees, working in and around the kitchen and
               the handling and serving of food in the correctional facility shall meet minimum
               health requirements.




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               5.6   The correctional facility kitchen (or other kitchen from which food may come) and
                     food sllTVice shall regularly be inspected by the public health authorities on the same
                     basis as public institutions. and the recommendations or requirements made by the
                     pUblic health authorities as a result ofsuch inspection shall be implemented by the
                     correctional facility officials within the time allowed therefore by said pUblic health
                     authorities.

              5.7    Special diets may be required for prisoners with specific health problems if ordered
                     by a doctor.

            6. MEDICAL

              6.1    A physician must be available on call at all times.
              6.2    Every entering prisoner must receive a medical examination within twenty-four hours
                     of entrance by a licensed nurse or physician.
              6.3    There must be a Daily sick call attended by a licensed physician or nurse; and a
                     physician must appear for sick call at least once a week.
              6.4    Arrangements must be made to meet the needs of prisoners with special medical
                     problems.
              6.5    The correctional facility nurse or paramedical assistants shall not prescribe
                     prescription medication ofany kind
              6.6    The services of a dentist will be available on call.
              6.7    Adequate facilities for dental examinations and treatment, both curative and
                     preventive, shaH be available either at the correctional facility or a dental office.
              6.8    Ample and adequate rooms and equipment for conductible physical examinations of
                     imnates and entering prisoners shall be available at the correctional facility.
              6.9    Quarters for inmates who are too ill to remain safe as part of the general population of
                     the correctional facility, but not sufficiently ill to require hospitalization, shall.be
                     available at the correctional facility.

            7. ACCESSTOTHECOURTS

              7.1    There shall be no confiscation or delay of legal reading of correspondence between
                     courts and prisoners. Correctional facili~y officials, or anyone acting on their behalf
                     shall not discourage the filing of habeas corpus petitions by prisoners.
              7.2    Habeas corpus petitions may be mailed directly to the Court, and ,need not be
                     presented to correctional facility officials for screening.


            8. CEIL CONDmONS

              8.1    There shall be proper illumination of each cell and other areas where prisoners may
                     be held. .
              8.2    There shall be adequate heating in and cold seasons and there shall be adequate
                     ventilation at all times.


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           8.3    There must be hot and cold water for bathing, in accordance with the standards for
                  public institutions.
           8.4    There must, at aU times, be adequate working toilets.
           8.S    All leaks in plumbing must be repaired immediately.
           8.6    There must be an adequate and sanitary supply of drinking water.
           8.7    The interior of the cells should be kept painted with a light colored, washable
                  material.

        9. CORRECTIONAL FACILITY PERSONNEL

           9.1    There will be at all times not less than two guards on duty at the correctional facility
                  for each pod or cell area inhabited at more than halfcapacity. At least one guard shall
                  be stationed in the pod or cell area at all times.
          9.2     There shall be a sufficient number of supervisory and relief personnel provided to
                  insure that the required number of guards are on duty and patrolling activities are
                  carried out.
          9.3     Tear gas or mace shall only be used in emergencies by correctional facility personnel
                  trained in its use, its effects on the body, and first aid for treatment for reactions to it

        10. DISCIPLINE

           10.1   Solitary confinement is prohibited. Maximwn security or isolation may be used under
                  extreme circumstances, as a disciplinary measure, but only for physically violent
                  prisoners whose behavior jeopardizes the health and safety of other personnel in and
                  around the correction facility area.
           10.2   Any maximum security or isolation facilities must be furnished with proper heat,
                  light, ventilation and sanitazy facilities, and must not be used for extended periods of
                  time, and prisoners placed in isolation must not be deprive of clothing.
           10.3   Maximum security isolation shall differ from nonnal confmement only in the loss of
                  freedom and privileges pennitted to other prisoners.
           10.4   Prisoners who appear to be dangerously violent or suicidal must be examined
                  inunediately by a physician, and ifhe deems it advisable, removed to a mental
                  hospital.
           10.S   No pretrial detainee or prisoner shaU be held in isolation more than thirty days. A
                  review of the detainee's or prisoner's attitude shall be made at or near the end ofany
                  1S08   n '                                                   ....
           10.6    Any prisoner aggrieved by a particular imposition of discipline has the right to ask
                   that it be reviewed at a higher level of authority in the correctional facility
                   administration than that of the autboritywho imposed it; and such reviews shall not
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           10.7 A prisoner subject to disciplinary action shall be furnished with an advance written
                   copy oethe charge against him, the right to call, confront and cross-examine
                   witnesses, and written notice of decisions.
           10.8 An imnate questioned by correctional facility officials regarding the commission of
                   any offense subject to disciplinary action which is also punishable by the criminal law




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                     shall first be infonned that he has the right to remain silent, that anything he says may
                     be used against him in a criminal proceeding. and he may have assistance in the
                     preparation ofhis defense to the disciplinary action.
             10.9    Imnates placed insulation or maximum security shall have the right to consult with
                     counsel to the same extent as members of the general correctional facility population.

          11. HAIR

            11.1     Detainees or prisoners shall not be required to get a haircut or shave unless reasonable
                     necessary for health or security.

          12. READING MATERIAL

            12.1     A library service shall be provided for prisoners.
            12.2     There shall be no censorship ofbooks, periodicals. etc., purchased or given to
                     prisoners, except the jail official may. in their reasonable discretion, forbid the
                     introduction into the correctional facility of books and periodicals which would come
                     within the legal definition of obscenity.
            12.3     The prisoner's possession of reading materials may be preceded by carefu1
                     examination to detect contraband; and consideration ofspace. sanitation and
                     orderliness may require certain limitations which would otherwise be constitutionally
                     offensive if any ordinary citizen were involved.
            12.4     Censorship or exclusion of certain reading materials would be justified upon a finding
                     ofa clear ~d present danger to prison morale, morality. discipline or security. Daily
                     newspapers shall not be denied to prisoners, absent a. clear and definite showing of a
                     security danger by correctional facility officials.

          13. METHADON AND OTIIER DRUG TREATMENT

            13.1     Correctional facility officials shall not prevent pre-trial detainees, who immediately
                     prior to their detention were participating in IlII approved methadone treatm~t
                     program, from receiving methadone as prescribed by a medical doctor.
            13.2     Pre-trial detainees shall be allowed to continue other necessary drug treatment
                     programs i;n accordance with the next or preceding paragraph
            13.3     The county shall not have to bear the cost of any such treatm ent.


          14. DISTRIBUTION OF RULES

            14.1     A copy of these and other correctional facility rules shall be posted in prominent
                     places in the correctional facility or furnished to all prisoners or detainees on
                     a4mission to the correctional facility.
     ,



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       15. EFFECTIVE DATE

          15.1   These rules shall be completelypbased in by Janumy 1,1977.

        IT IS SO STIPULATED.
        DATED this 15th day of December, 1976.

            JOHN W. HALL, JR.              WlILIAM R. wn,sON, JR.
        Deputy Prosecuting Attomey          Attorney for Plaintiffs
       Attorney for County Defendants



                               In Tbe United States District Court Eastern
                                          District of ArkaQsas,
                                           Western Division

       BllLY Hll..L, ET AL                                          PLAINTlFFS
                 VS.                 NO. LR-C-79-465
       PULASKI COUNTY, ARKANSAS,
       ET AL ,                                                    DEFENDANTS
       RONNIE TOWNSEND                                     1      INTERVENER
                                                                      ,

       DONNlE RAY COLEMAN, BT AL. PLAINTIFF-INTERVENER
       Wll.LIAM E. BEAUMONT, ET AL. RULE 19 DEFENDANTS
       CIlY OF LITTLE ROCK, AND W. E. "SONNY"
       SIMPSON, CHIEF OF POLICE, In His Individual
       and Official Capacities                        THIRD PARTY DEFENDANTS

                                          CONSENT DECREE
          This decree is entered at the request and by the stipulation of the parties, and brings to an end
               this protracted and convoluted litigation.
          This action was filed pursuant to 42 U.S.C. 1983 on October 23, 1979, on behalf of an alleged
             class ofpersons incareerated and to be incarcerated in the Pulaski County Jail. The
             alleged. class sought monetary and injunctive relief for denial ofrights seemed by the
             Eighth and Fourteenth Amendments to the United State ConStimtjOD The defendants
             were Pulaski County, Arkansas. the Sheriffof Pulaski County, and several deputy
             sheriffs.
          An order was entered January 10, 1980 (nune pro tunc to December 1,1979) which imposed a
             preliminAry injuDction againsttbe d..rendents.to prohibit the IIIe effMle aT violence          . - - -.
                                                                                                           --
             against ~ates except under narrow, enwnerated circumstances. to prohi~it non­
             consensual sexual advances, and to abide by and publish a decree approved in previous
             jail litigation on December 15, 1976. viz., Dic~oll. et aI 1/. Davis, et aI, LR-C-74-25.
          On August 5, 1981, this Cow"! entered an orderwbich certified the class in the case to be: "..,a
             class composed of all persons now detained and those detained from time to time in the
             future in the Pulaski County Jai},"




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             The Court fi.n1her found the jail to be out of compliance with Constitutional requirements
             and previous Court Orders, found the Sheriff to be in contempt of Court for such
             shortcomings, and set a population ceiling of two hundred (200) prisoners for the Pulaski
             Comty Jail.
        On October 23, 1981, the Court joined the Pulaski County Judge and the Pulaski County
             Quorum Court as parties defendant. Several plaintiffs who were class members had also
             intervened.
        On December 4,1981, pursuant to a Stipulation for Order filed December 1,1981, the Court
             appointed a Special Master for ninety days to oversee and insure continued Constitutional
             operation of the Pulaski County Jail. Thejail had become and remains in operation 38 a
             Constitutional facility.
        On February 25, 1982, the Court extended the appoinbnent of the Special Master to April 3D,
            1982,
        On April 29, 1982, the Court entered an order approving a sliding scale of inmate-correctional
            officer ratios utilized at the Pulaski County Jail which would maintain constitutionality,
            approved a disciplinaty code and grievance procedure and allowed the Special Master's
            appointment to expire.
        From the time of the Court's order of April 29, 1982, to the present. the Court has had to
            intercede in the jail affairs twice; to-wit: the first at the plaintiff's requellt relative to two
            inmates (Chatley and Jones) whose application for relief was denied in part and granted
            in part by order of May 17, 1982, and ultimately deemed moot by order of July 19, 1983;
            the second (disposed of by the Court's order of April 11, 1984) to protect thejail's
            constitutional sovereignty from state compulsion of the Sberiffand other county law
            enforcement officials to accept prisoners in such quantity as to force the jail out of
            compliance.
        COWlsel for plaintiffs and counsel for the Sheriff have since May ofl982, by agreement,
            received a weekly review ofinmates in disciplinary confinement and monitored same,
        The Pulaski County Jail is attempting to function in a constitutional fashion and the
            remaining parties believe it can do so, provided the remedial portions of this decree are
            ordered and implemented.                    .
        The,parnes propose to finally dispose ofthis matter in a fair, reasonable and adequate manner
            to insure the continued Constitutional operation of the Pulaski County Jail, and have
            notified the class represented by the plaintiff of the intended closure of this case. The
            Court finds that the notice proposed herein has occurred and that the best interests of the
            class are protected by this settlement
        First, the parties agree that a permanent injunction in this matter should be entered, The terms
            oftbis injunction are: '
        The defendants are hereby enjoined from the use of force or violence against inmates except
            when it is reasonably necessary, as perceived by the officer at the lime, either (1) to
            enforce a lawful order against an inmate, or (2) to subdue an inmate who is offering
            violence against an officer or another prisoner. Sexual advances that are not consented to
            are also specifically prohibited. Additionally, the ddendants will be prohibited from
            allowing or pennitting any prisoner physical access to BnC?ther, when they know or should
            know that one prisoner intends physical violence to another.
        The defendants are also ordered to follow aU ofthe provisions of their stipulation in DicMQn




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              v. Davis, supra.
          All other prior orders of the Court concerning the tcnns and conditions of.confinement;
              including but not limited to those pertaining to the adequacy of the diet, exercise,
              recreation, visitation, mail, telephone and aU other communication privileges (visits with
              counsel, clergy and class counsel), medical care, overcrowding, and the previously
              ordered disciplinary 8l:ld grievance code, shall remain in full force and effect AIl orders
              entered in this litigation remain in effect.
          Futther, the jail personnel shall be prohibited from allowing one prisoner to play any part in
              the dispensing of medicines to any other prisoner.
          An infonnal grievances maybe presented to the pod guard for possible resolution. All
              fonnal grievances must be written and must be placed in the mail box which is tnade
              available to all inmates daily. A grievance officer will be appointed, and this person
              alone will remove the grievances, log them in and distribute them to the appropriate
             official for resolution as provided by the existing grievllI1cc procedure approved by the
              Court.                                                                      .
             Also, in order to assure that DO female is deprived of sanitary items, all such items will be
               logged byjail personnel as dispensed. The jail administrator shall issue an order
             directing all officers to honor all reasonable requests for additional toothpaste, soap,
             towels, or change of clothing. All inmates will be provided adequate toilet paper at all
             times.

      The damage claims of the various name plaintiffs have been dismissed by prior order of this
      Court, pmsuant to a settlement between the parties.

       The defendants agree to make the following physical modifications to thejail in order that
        certain systemic problems will be cured: (1) maximum security will be remodeled so that it
       bceo~es in fact the maximum secure area of the institution, so that prisoners who present
        various escape or other security risks may be housed there rather than in the Observation
       Unit; and (2) the juvenile pod will be remodeled so that the instances ofproperty destruction
       by juveniles can be adequately monitored and ¢ose actually committing such offenses can be
       detcnnined, resulting in no general loss of privileges to the juveniles as a group.

      The parties agree that counsel for plaintiffs have prevailed in this matter, and arc entitled to
       reasonable fees and costs for all services rendered to date. (If the parties cannot agree on the
      amount of fees and costs rendered to date, plaintiffs may submit to the Court their itemized
      statements, along with any 9th" submissions they care to make, HI or4or tllat the Cetl!i may
      determine the reasonableness of their fees and costs.)

       IT IS HEREBY ORDERED that the SheriffofPulsski County and his authorized representatives
    _. and emplO)'MSsball continue to abid. by &be inmate pfl1"Ilstion limits established klhe
       stipulation of December 1,1981, (except that C Pod may be used for up to twenty additional
       felons because ofmodificatioDs and security measures that have been undertaken there).
       Further, the Sheriffand his designated represl21tatives lII1d employees shall refuse to accept
       custody of prisoners from any and all souroes if the reception ofsuch prisoner or prisoners
       will cause the population of the Pulaski County Correctional Facility to exceed the limits set
                                                                       '.
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              forth in the Stipulation ofDecember J, 1981. The Sheriffshall notify the Court of any
              material.steps taken by QIlY person or persons which attempt to contravene or impede the
              Sherifl's fulfillmcmt of his obligations under this decree.

              The City ofLittle Rock is hereby dismissed from this action, lUi is ChiefSimpson.

                                                  George Howard, Jr,
                                                  U. S. District Judge

              APPROVED AND STIPULATED:                                              Date: April 8, 1985

              John Fonter                                     Ricllard Quiggle
              Attorney for Defendant                          Attorney for P1~jDdtT, and Ute Class
              Pulaski County Sheriff

              Stephen Curry
              Attorney for Defendant,
              PuI~kI County




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Office ofthe
Pulaski                              Official Memorandum
County                          Pulaski County Detention Facility
Sheriff

To:            Inmate Polk, Allen#1902Y

From:          Chief R. Morgan    V
Re:            Response to Letter

Date:          February 22, 2011


You were arrested by NLRPD on February 4, 201 and you remained in their custod durin             eir
paperwork processing and identification efforts. On e mary 5,2011 at 1:37 p.m., you entered the
custody of the Sheriff of Pulaski County under my supervision. On February 8,2011 at 6:54 a.m.,
you were taken to NLRDC Video Arraignment by my designee Sgt. M. Briggs well before your 72­
hour time allotment expired. Furthennore, Sgt. Briggs has infonned me that you were removed from
the court room at the order of Judge Hamilton for disrupting his proceedings. Judge Hamilton
advised you that he found probable cause for your arrest, and that he was holding you without bond.
You then attempted unsuccessfully to argue the constitutionality of your arrest, at which point you
were returned to your cell.

You have also filed grievances with my grievance office. I will take this time to infonn you that
Judicial Orders, Laws,Policies, and Procedures are all non-grievable issues. Should you have any
further questions regarding what you can and cannot do inside of the facility, I refer you to the
inmate handbook that I havel1rovided for you inside of the unit you are housed in.
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     /~jH'llrHfllJ£
                       GRIEVANCE FORM
                  ONLY ONE        (l}   GRIEVANCE PER SHEET




(An emergency situation is one in which you may. be su.·  ~~ati  I risk of bodily hann. It should not be
declared for ordinary problems that are not of a seri   ~&I  . tl yes, you may give this completed fonn
to any deputy department employee who Wi.l.l s~ ~,,~         y receipt, give you the receipt and deliver the
remaining for, without undue delay, to ~~~~~ esignee.                      Reprisals: If you are harmed or


_:::.~=~-~:~;;~~~;~;~~~~~:::_----------
To b~ completedJlY the teceivingm"mber,
                        Beeeillt for Emer&ency Situationl
Received fram which inmate?                                                     lntake #:
Date:                    Time:                            _
                                                                                            ----­

Printed Name of receiving member                 D.S.N            Signature of receiving member

                                                                                     i~j    Page 1 revised-9/17/98
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Inmate's Name:,_f{tJIr-..IL:::.'   ;. .:;z;l,=.,.",- -!l~      Intake #:                    Grievance#: _ _          -=-A./t._---=-~__
                                                     Grievance Officer's Decision

            you were arrested and jn the custody of the North Ljttle Rock
            Police Department on 02.04.11. We did not take custody of you
            untl1 02.05.11. fou wl11 need to address thlS lssue with North
            Little Rock Police Departmertt.
            The grievance procedure addresses matters pertaining to this
            facility.




                                                                                                                                          II
                  rievance Officer or Designee
                               /
Signature of inm~Vingresponse
                   ,
                                                            Inmate's Appeal
If you are not satisfied with this response you may appeal this decision within ten (10) days by completing the information below.
Remember, you are avvealing the decision concerning the original conmlaint.
                        Do not list any additional issues which are not part of your oril:inal complaint.
Why do you not agree with this response?



                         z
                  z
               Inmate's Signature                                      Intake Number                               Date
                                                            AppeafResponse




                                                                                                    D.S.N.             Date

                                                                                                                    Date




                                   £x,.-lJ                                                                i~J    Page 2 revised-9/17/98
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                                                                                             PHONE: (501) 758-1234
DANNY E. BRADLEY                               200 WEST PERSHING BLVD.                FAX NUMBER: (501) 771-7157 (SERVICE)
     CHIEF                              NORTH LITTLE ROCK, ARKANSAS 72114-2294         FAX NUMBER: (501) 771-7194 (CHIEF)




             Mr. Allen Polk
             3201 W. Roosevelt
             Little Rock, Ar. 72204



             Mr. Polk,
                 In response to your request for information, I am forwarding a Freedom Of
             InfOlmation Request to you. In addition, any copies of an arrest disposition report or
             general report will cost fifty cents for the first page, and twenty five cents for each
             additional page. If we can be of any flUther assistance, please let us how.




                                                                           Sgt. Rick Bibb




                            ;Cx-       -f)
                                                '.
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Date   IJlw.d. j.s: :;J.. tJ/ I
Custodian of Records
North Little Rock Police Department
200 W. Pershing Blvd.
North Little Rock, AR 72114

RE: Request for public records under the Arkansas Freedom of Infonnation Act

By this letter, I hereby request access under the Arkansas Freedom of Infonnation Act,
AR Code Ann. 25-19-101 et seq., to public records maintained by the North Little Rock
Police Department. I am a citizen of the State of Arkansas and can be contacted at the
address and telephone number provided.

Named/II!? /I 8/1< #/9122 - /I
Telephone number       J {)1- 3 'iP -1//P IJ
Email address_ _----'::...L.."L.L..!--                              _




Mailing address    3212/ ht !U/Jre ve../t Ro/,
City   LillIe f(/)~ k.                       State---,,~A~~~.L-lIk'----Zip IJd,2P'I
 Specifically, I request access to the following records for purposes of inspection and
copying:   All,.  UP rp r-e,./A;'ftJ ff/ itA 4.rre.sf "" :1/'1//1 A1\,l1l,,11 re~"rds-
 r-e14 f e.J tfJ st4bs-et).J,felf,tofe-tenf/171t           4t Np"f).$;tle   )J6okll\ '"
Any and all incident reports, aCCIdent reports or any other documentation of your
Department's contact with the listed individual or address during a period of time
from ~/311J to ~/9 J1/ .

Name     AiLe-a Pbjk~                                     Dateofbirth   !P/J/JIl.J6
Address   '7IJPI/ LfrA('1l RJ" L.,/I, ,&1<<< , 72:212'/
                                         F         ':      '

I further request you make available these records for my inspection and copying within
three (3) working days, as the Freedom of Infonnation Act requires. If you provide
copies of the records requested I agree to pay reasonable fees for the copies.

Sincerely,
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                                                                                                PHONE: (501) 758-1234
DANNY E. BRADLEY                                200 W EST PERSHING BLVD.                 FAX NUMBER: (501) 771-7157 (SERVICE)
     CHIEF                               NORTH LITTL E ROCK, ARKANSAS 72114-2294          FAX NUMBER: (501) 771-7194 (CHIEF)




           May 04,2011

           Mr. Allen Polk
           Pulaski Co , Jail # 1902-11
           3201 W. Roosevelt Road
           Little Rock, AR 72204

           Re: FOIA Request on yourself - Allen Polk


           Dear Sir:

           The North Little Rock Police Dept. - Records Section reviewed your request for records
           related to the arrest and criminal history of Allen Polk. We have a general report # 2011­
           09779 and the arrest and disposition report of 02104/2011. The cost of these are $2.50.
           The office hours of the Support Services Division are 7:30 a.m. to 4:30 p.m. Monday thru
           Friday....

           You mentioned in your correspondence that you are representing yourself and are entitled
           to the information requested under discovery. This should be requested through the
           Pulaski County Prosecuting Attorney's office, not NLRPD.

           As you mayor may not know, the North Little Rock Police department does not have a
           Jail. Vle use the Pulaski Cou!'!ty Detentio!1. Facilities, SI) time yon spet"lt Rt Northsi.de book­
           in would have to be requested from them.

            If we can assist you with any further information or you have any questions, please feel
            free to contact me.




            Janice Jensen, Office Manager-Support Services
            North Little Rock Police Department (501) 771-7126


                                       £)'.-£                              If/I
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                                                                                               PHONE: (501) 758-1234
DANNY E. BRADLEY                                 200 W EST PERSHING BLVD.               FAX NUMBER: (501) 771-7157 (SERVICE)
     CHIEF                                NORTH LITTL E ROCK, ARKANSAS 72114-2294        FAX NUMBER: (501) 771-7194 (CHIEF)




             May 13,2011

             Mr. Allen Polk
             Pulaski Co. Jail # 1902-11
             3201 \\1. Roosevelt Road
             Little Rock, AR 72204

             Re: payment Report # 2011-09779


             Dear Sir:

             The North Little Rock Police Dept. - Records Section reviewed your payment options for
             general report # 2011-09779 and the arrest and disposition report of 02104/2011. The cost
             of these is $2.50. We only accept cash or checks for the purchase of these reports, not
             stamps or credit cards. The office hours of the Support Services Division are 7:30 a.m. to
             4:30 p.m. Monday thru Friday.

             You mentioned in your previous correspondence that you are representing yourself and
             are entitled to the information requested under discovery. This should be requested
             through the Pulaski County Prosecuting Attorney's office, not NLRPD.

             I am not aware of which officer transported you to Pulaski Co. Jail; however, any
             property would have traveled with you to PCJ.

             If we can assist you with any u                               ave any questions, please feel
             free to contact me.

             Sincerely,

                   sr-
             Janice Jensen, Office Manager-Support Services
             North Little Rock Police Department (501) 771-7126



                                                                       /;/1
                   Case 4:11-cv-00501-JTR Document 2 Filed 06/21/11 Page 76 of 81




                                                                                           PHONE: (501) 758-1234
                                                 200 WEST PERSHING BLVD.            FAX NUMBER: (501) 771-7157 (SERVICE)
DANNY E. BRADLEY
                                          NORTH LITTLE ROCK, ARKANSAS 72114-2294     FAX NUMBER: (501) 771-7194 (CHIEF)
     CHIEF




             June 09,2011

             Mr. Allen Polk
             Pulaski Co. Jail # 1902-11
             3201 W. Roosevelt Road
             Little Rock, AR 72204

             Re: Transport Officer


             Dear Sir:

             You made an inquiry of which police officer transported you from Northside Detention
             Facility t the Pulaski County Detention Facility.

             Ofc. M. Hood with NLRPD transported you to Pulaski County.

             If we can assist you with any further information or you have any questions, please feel
             free to contact me.




             Janice Jensen, Office Manager-Support Services
             North Little Rock Police Department (501) 771-7126




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                                                                        "/
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                                                                        sions about Northside c.l9s­ Little Rock. The county jail is
                                                                        ing; before Holladay made his almost eight miles away from
                                                                        announcement to the police 'Northside, which is in the
                                                                        depart~ents Thursday that heart of North Little Rock.
                                                                        the           was closing.'Trtlnbt convinced that
                                                                          ",He s the closing did not we             ' g to save a lot of
                                              ,i   , ,',                surprise him but the timing office            e, but, operation- ,
                                                as said hi              did; "       ..                  ally, I think it will probably
                                   ment, which curren                     ,"We prefer to have some be better in terms Qf having
                                   vacant positions,              ack   advance knowledge of what one center there where the
                                   the 12 officers who worked at        was going to happen," Brad~ county takes carcof 9f the
                                   the North~ide facility;              ley said. ~~Organizational1y it 'prisoners," Bnldll~y~
                                       "We'didn't add officers 'to      is easier for us ifwe set things    "         we receive some
                              ~    [staff Northside]," Thomas           up and know ili advance that                   rills Mtime.But
                                   said; "We just had to work                  . are going to. change."                ooking at that as
                                   atoundit.'!        ..                         , ey's department had                 ven swap." ..
                                    ". How Tho           'ntendsto      five officers working at the                    .said he 'is eager
                                   use the doze            .ce~s will   facility before it closed. The to see thecounty jail's capac­
                                   be depend on how long the            officers will return to posi­ ityexpand beyond 1,130 beds.
                                   facility stays closed: .             tions they had at before they The Pulaski County O!torum
                    for crimes         "It is a situation, where,       were sent to Northside: Four Court earlier this month ap­
                    orth Little    yes, we would love to be able        will go    back to patrol and proved fundingfor a new $5.3
             'unincorporated       to assign them specifically,         the other will go back to the million, 240-bed addition that
            u:Iaski Cdunty are     and permanently to other             department's warrant section, Will be targeted toward non-
i~,p~essed. By state law; de-                      e department,"       he said.                         violent offenders. The project
  taineescan only beheld'there                      . "For the time         Even with the five officers is expected to be completed
.ifbr~ hours before they post      being,            it will be'v.ery   back at their original duties, by the fall of 2012, Holladay
" boho,' ate released with a       prudent to keep everybody in'        Bradley said, the department said.                    .
 writtencotirt~appearance          position to move back over           may not see that much of a           Once the additional beds
"'agree          are transferred   there if we have to."          .     benefit.,That!s because it are added to the jail, there is a
  th>theJail. Since 2006,              North Little Rock Police         will take more time to book better chance that Northside
'Nerthside ..<l.S peen manned,     C         . anny Bradley said        offenders at the county jail can be closed for the 1
  onlybyLittleRocl<andNorth        th          beengeneraldiscus-       on West Roosevelt Road in term, Thomas said.
"~';:.u.;,,:~--   _ _--'-_-"':':'_":-':',_,,,..:.,,--_ _,,_.,_______________                                              "...__...__.._>   '. '
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                                           "                 .'
 Pulaski                              :,Q~~~ Mem~~a..~.:.,                                                    .
 County                          Pula$k.iCOODj:)' petentloJi':F.e~:
- Sheriff                             ",       '.:':'~ !:.~:'!             ' '...;....
                                                                                  . :; ~~"':"'~'-:: . ,




                =a:~~
 To:

 From:

 Re:            Response to Letter         "-             '0".,­       -




 Date:          February 22, 2011


 Yo~ were mested oy NLRPD pn Febfuaij,~~ 2().11 and YOli~aln.ed in their custody during their
 paperwork processing and identificll;tion effortS. On Feb~_S,2011 at I:37 p.m., -you'entered the
 custody ofthe SheriffofPulaski County Under my supervi,siQn. On Febnwy 8, 2011 at 6:54 a,m.,
 you were taken to NLRDe Video Arraignin~tQY my designee .Sgt. M. Briggs well before yom 72·
 hom time allotment expired. Furthermor~,           sit.
                                                  Briggs has iDformed me that you were removed from
 the court room at the order of Judge Hamilton for disrupting his proceedings. Judge Hamilton
 advised you that he foundprobable cause for yOur attest, 'an4 that he was holding you wjthout bond.
 You then attempted unsuccessfully to argue the constitutionality of yom arrest, at which point you
 were returned to your cell.    '                                                                                 "


 You have also filed grievances with my grievance office. I will take this time to infonn you that
 Judicial Ord~s, Laws"Policies, and Procedures are !lit non-grievable issues. Should you have any
 fur.ther questions regarding what you can and cannot do inside of the facility, I refer you to the
 inmate handbook that I haveFOvided for you inside ofthe unit you are housed in.
